         Case: 23-15103, 01/26/2023,
         Case 3:20-cv-02155-LB       ID: 12639323,
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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       JAN 26 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 CAITLIN BRICE; et al.,                          No. 23-15103

               Plaintiffs - Appellees,
                                                 D.C. No. 3:20-cv-02155-LB
  v.                                             U.S. District Court for Northern
                                                 California, San Francisco

 ALFRED GONZALEZ,                                ORDER

               Objector - Appellant,

   v.

 ZOOM VIDEO COMMUNICATIONS,
 INC., a Delaware corporation,

               Defendant - Appellee.


        A review of this court's docket reflects that the filing and docketing fees for

this appeal remain due. Within 21 days after the date of this order, appellant shall

pay to the district court the $505.00 filing and docketing fees for this appeal and

file in this court proof of such payment or file in this court a motion to proceed in

forma pauperis.

        The filing of a motion to proceed in forma pauperis will automatically stay

the briefing schedule under Ninth Circuit Rule 27-11.

        The Clerk shall serve a Form 4 financial affidavit on appellant.
        Case: 23-15103, 01/26/2023,
        Case 3:20-cv-02155-LB       ID: 12639323,
                                Document          DktEntry:
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                                                                         of 22

       If appellant fails to comply with this order, this appeal may be dismissed by

the Clerk for failure to prosecute. See 9th Cir. R. 42-1.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Cyntharee K. Powells
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
